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settlement. See Dkt. No 654-2. Nor should it because members of a

Rule 23(b)(2) class do not have a right to opt out. See Wright,

Miller, & Kane, Federal Practice and Procedure, Civil 3d §1789 at

553-54 ("the judgment in a class action will include by its terms

all the class members except those in a Rule 23(b)(3) action.");

§1786 at 489 ("[m]ost courts have expressly limited the mandatory

notice   in   [Rule   23(c)(2)(B)]   to   actions   brought   under   Rule

23(b)(3)"). Meaden is not to the contrary because in that case the

class was certified pursuant to Rule 23(b)(3). Meaden, 2023 WL

3529762 at *1.

     Similarly, the parties mistakenly state that "class members

are entitled to receive the best notice practicable." Id. at 14.

This is the standard for notice when a Rule 23(b)(3) class has

been certified. See F.R. Civ. P. 23(c)(2)(b). For a Rule 23(b)(2)

class, if notice is justified, "the court must direct notice in a

reasonable manner to all class members...." Rule 23(e)(1)(B). This

Notice may be in any form the court finds "appropriate." F.R. Civ.

P. 23(c)(2)(A). It does not necessarily have to include all of the

information required to be in a notice to members of a Rule

23(b)(3) class under Rule 23(c)(2)(B). However, the parties should

be prepared to address whether the proposed notice and means of

providing it satisfies the applicable standards.

     In addition, the court would benefit from an oral explanation

of the proposed settlement. The parties should be prepared to

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discuss, among other things: the approximate number of class

members; the meaning of the requirement that ICE Boston ERO not

take    any    enforcement    action         against   class   members    without

"tak[ing] into consideration the noncitizen's eligibility to seek

lawful status through the provisional waiver process," Dkt. No.

653 at 8; and their best estimate of how many disputes the court

may be required to resolve.

       Accordingly, it is hereby ORDERED that:

       1. A hearing to address the foregoing issues concerning the

Motion and possibly others shall be held on October 23, 2024 at

11:00 a.m. EST.

       2. To accommodate counsel for Respondents, the hearing will

be held by videoconference.

       3. Any request to reschedule the October 23, 2024 hearing

shall be filed by October 21, 2024.                If granted, the tentative

November 19, 2024 date for the hearing to decide whether the

proposed      settlement   should   be       preliminarily     approved   may   be

jeopardized.



                                                               DISTRICT




                                         4
